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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

HABEAS CORPUS AD TESTIFICANDUM

TO THE UNITED STATES MARSHAL FOR THE DISTRICT OF MASSACHUSETTS, or

any of his deputies and to

   Framingham Massachusetts Committing Institution, in Framingham, Massachusetts

YOU ARE COMMANDED to have the body of Shannon Ferreira now in your custody, before

the United States District Court for the District of Massachusetts, United States Courthouse, 1

Courthouse Way, Boston, Massachusetts on October 18, 2017 10:00 a.m. for the purpose of

testifying in United States v. Reginald Abraham, Criminal No. 17-CR-10269-JCB

          And you are to retain the body of said Shannon Ferreira while before said Court upon

said day and upon such further days thereafter as her attendance before said Court shall be

necessary, and as soon as may be thereafter to return said prisoner to the institution from which

she was taken, under safe and secure conduct, to be there imprisoned as if she had not been brought

therefrom for the purpose aforesaid. And have you then and there this WRIT with your doings

herein.

                                       16th day of October, 2017.
Dated at Boston in said District this ______


 Honorable William G. Young
______________________________
United States District Judge

                                                                  /s/Matthew A. Paine
                                                            By: __________________________
                                                                Matthew A. Paine
                                                                Docket Clerk

Requested by: AUSA Miranda Hooker
